24-00887-JAW Dkt 38 Filed 02/27/25 Entered 02/27/25 13:28:29 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: CHAPTER 7
CHARLES EDWARD ALLEN CASE NO. 24-00887-JAW
TRUSTEE’S APPLICATION FOR ALLOWANCE OF COMPENSATION

AND REIMBURSEMENT OF NECESSARY EXPENSES
OF ATTORNEY FOR SPECIAL PURPOSE

COMES NOW, Eileen N. Shaffer, Trustee and files this Application for Allowance of
Compensation and Reimbursement of Necessary Expenses on behalf of Begley Law Firm, PLLC,
and in support thereof, would show unto the Court the following matters, to-wit:

1. That pursuant to the agreement entered into between the debtor and the
aforementioned attorney, said attorney was to perform legal services for a contingency fee of thirty-
six percent (331%) of the total settlement, not to exceed fifty percent (50%) of the settlement.

Dn That pursuant to the contract, said attorney is entitled to attorney’s fees for services
rendered in the amount of $9,999.00, plus expenses incurred of $196.00, being a total of
$10,195.00. A true and correct copy of Itemization of Expenses is attached hereto and incorporated
herein at Exhibit A”.

3. That no prior applications have been filed on behalf of the Applicant.

4. That the Court has authority to allow this compensation and to pay the same as
authorized by 11 U.S.C. § 330, after notice and a hearing.

5. That Applicant has taken into consideration the factors outlined in Johnson v
Georgia Highway Express, Inc., 499F.2d 714 (5" Cir. 1974), made applicable to proceedings in this
Court by the decision in Jn Re First Colonial Corp. of America, 544 F. 2d, 1291 (5" Cir., cert.
denied, 97 S. Ct. 1696 [1977]), in establishing a reasonable request for compensation, and as shown

by the discussion of those factors contained herein, the fee requested by Applicant is supported by
24-00887-JAW Dkt 38 Filed 02/27/25 Entered 02/27/25 13:28:29 Page 2 of 3

the Johnson criteria. In addition, the fee is reasonable in light of the requirements that bankruptcy
estates by administered as economically as possible and that all the services rendered are of a legal
nature requiring the services of an attorney.

6. In accordance with the authorization of special counsel as attorney for Trustee, said
attorney has been called upon to provide extensive legal services to the trustee.

7. To acertain extent, other employment was precluded by services rendered in that at
certain periods of the administration of this bankruptcy, the legal representation of the trustee

prevented the attorney from working on other cases.

8. That the attorney is duly licensed and authorized, practicing in the state of
Mississippi.
9. That the Trustee has reviewed the instant application and approves same.

WHEREFORE, PREMISES CONSIDERED, Applicant prays that after notice, the Court
will grant the request for attorney’s fees and reimbursement of expenses to Special Counsel as set
forth above, authorizing payment of the same to Special Counsel upon the terms and conditions set
forth above, and for such other relief as is deemed just.

DATED, this the SW day of _ SSSSSSNGNN, , 2025.

Respectfully submitted,

CHAPTER 7 TRUSTEE

BY: >>
EILEEN N. SHAFFER
Attorney for Trustee

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24-00887-JAW Dkt 38 Filed 02/27/25 Entered 02/27/25 13:28:29 Page 3 of 3

CERTIFICATE OF SERVICE

I, Eileen N. Shaffer, Attorney for Trustee, do hereby certify that I have this date mailed by
United States Mail, postage prepaid, or electronically transmitted via CM/ECF Noticing, a true and
correct copy of the Trustee ’s Application for Allowance of Compensation and Reimbursement of
Necessary Expenses of Attorney for Special Purpose to the following on the day and year
hereinafter set forth:

Samuel L. Begley, Esq.
P.O. Box 287
Jackson, MS 39205

begleylaw@gmail.com

Allison W. Killebrew, Esq.
Attorney for Debtor

allisonwkillebrew@gmail.com

United States Trustee
USTPRegion05.JA.ECF@usdoj.gov

SO CERTIFIED, this the 2S\Naay of SSSsasge4 2025.

Sn

EILEEN N. SHAFFER

